       Case 1:19-cv-05097-AT-KNF Document 66 Filed 10/21/20 Page 1 of 1


                                                                    USDC SDNY
UNITED STATES DISTRICT COURT                                        DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
JOSE R. LACEN,                                                      DOC #: _________________
                                                                    DATE FILED: __10/21/2020
                      Plaintiff,

               -against-                                             19 Civ. 5097 (AT) (KNF)

EMTC CAPTAIN AYGEMONG (CLINIC CAPTAIN);
“JOHN DOE” EMTC INTAKE C-76 CAPTAIN DUTY                                     ORDER
OFFICER; JANET RUNCIE RPA C-76 CLINIC;
ACHIM HUGGINS M.D. C-76 CLINIC; IAN WILLIAM
FORSTER; DAVID ONUORA P.A.; SAI KOLLA, M.D.,

                Defendants.
ANALISA TORRES, District Judge:

       The Court has received Plaintiff Jose R. Lacen’s letter requesting an extension of time to
respond to Defendants’ motion to dismiss. ECF No. 65. Plaintiff Lacen’s time to respond to the
motion is extended to November 6, 2020.

       The Clerk of the Court is directed to mail a copy of this order to Plaintiff pro se. The
Clerk of the Court is also directed to update Plaintiff Lacen’s address to reflect his new DIN #
20A0185.

       SO ORDERED.

Dated: October 21, 2020
       New York, New York
